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MIDDLE DlSTRlCT OF FLORlDA
OCALA. FLOR|DA
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
OCALA DIVISION
CHARLES SEXTON,
Plaintiff,
v- ‘ ' - ~oa - PF_L.
CASENO.: 542-cv lll SD
FINANCIAL PACIFIC
LEASING, INC.,
Defendant.
/

 

COMPLAINT AND DEMAND FOR JURY TRIAL
COMES NOW, Plaintiff, Charles Sexton, by and through the undersigned counsel,
and sues Defendant, FINANCIAL PACIFIC LEASING,_ INC., and in support thereof
respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227
et seq. (“TCPA”).
INTRODUCTION

l. The TCPA was enacted to prevent companies like FINANCIAL PACIFIC
LEASING, INC. (hereinaf’cer “Defendant”), from invading American citizen’s privacy
and to prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740
(2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

*1256 scourge of modern civilization, they wake us up in the morning; they interrupt our

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dinner at night; they force the sick and elderly out of bed; they bound us until we want to
rip the telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings
presumably intended to give telephone subscribers another option: telling the autodialers
to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (l lth Cir.
2014).

4. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are
thousands of complaints to the FCC every month on both telemarketing and robocalls.
The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler
Proposal to Protect and Empower Consumers Against Unwantea’ Robocalls, Texts to
Wireless Phones, Federal Communications Commission, (May 27, 2015),

littps://apps.i`cc.gov/edocs public/attachmatch/DOC-333676Al .pdf.
JURISDICTION AND VENUE

5. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

6. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States; and this action involves violations of
47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

and Osorl'o v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (l lth Cir. 2014).'

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7. The alleged violations described herein occurred in Marion County,
Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2),
as it is the judicial district in which a substantial part of the events or omissions giving
rise to this action occurred.

FACTUAL ALLEGATIONS

8. Plaintiff is a natural person, and citizen of the State of Florida residing in
Marion County, Florida.

9. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755
F. 3c1-1265 (11"‘ cir. 2014) and osorio v. stare Farm Bank, F.S.B., 746 F.3d 1242 (11‘*‘
Cir. 2014).

10. Defendant, is a corporation with its principal place of business located at
3455 South 344th Way, Suite 300, Federal Way, Washington, 98001 and which conducts
business in the State of Florida through its registered agent, CT Corporation System,
located at 1200 South Pine lsland Road, Plantation, Florida 33324.

11. Defendant called Plaintiff approximately four hundred fifty (450) times in
ian attempt to collect a debt. 1

12. Upon information and belief, some or all of the calls Defendant, made to h
Plaintiff’s cellular telephone number were made using an “automatic telephone dialing
system” (“ATDS”) which has the capacity to store or produce telephone numbers to be
called, using a random or sequential number generator (including but not limited to a
predictive dialer) or an artificial or prerecorded voice; and to dial such numbers as

specified by 47 U.S.C § 227(a)(1) (hereina{ter “autodialer calls”). Plaintiff will testify

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that he knew it was an autodialer because of the vast number of calls he received, because
he heard a pause when he answered his phone before a voice came on the line, and also
because he received many “abandoned calls”, a common indicator that an ATDS is being
utilized.

13. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (941) *** 2264 and was the called party and recipient of Defendant’s calls.

14. Defendant placed an exorbitant number of autodialed calls to Plaintift’s
cellular telephone (941) *** 2264 in an attempt to collect a debt.

15. The autodialer calls from Defendant came from telephone numbers
including but not limited to (800) 222-8558, and when those numbers are called a pre-
recorded voice or agent answers and identifies the number as belonging to Defendant.

16. On several occasions since the calls began, Plaintiff instructed
Defendant’s agents to stop calling his cellular telephone. Specitically, soon after the
campaign of calls began Plaintiff began repeatedly advising agents of the Defendant to
“cease and desist calling” his cellular telephone. Plaintiff has even gone as far as
emailing a “collections specialist” with Defendant to request that the calls stop.
Unfortunately, Defendant continued to call Plaintiff approximately two hundred (200)
times after Plaintiff first requested that the calls to his cellular telephone stop.

17. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s

cellular telephone in this case.

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18. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular
telephone in this case, with no way for the consumer, or Defendant, to remove the
number.

19. Defendant’s corporate policy is structured so as to continue to call
individuals like Plaintiff, despite these individuals explaining to Defendant that they do
not wish to be called,

20. Defendant has numerous complaints against it across the country asserting
that its automatic telephone dialing system continues to ca11 despite being requested to
stop.

21. Defendant has had numerous complaints against it from consumers across
the country asking to not be called, however Defendant continues to call these
individuals.

22. Defendant’s corporate policy provided no means for Plaintiff to have
Plaintiff’s number removed from Defendant’s call list.

23. Defendant has a corporate policy to harass and abuse individuals despite
actual knowledge the called parties do not wish to be called,

24. Not one of Defendant’s telephone calls placed to Plaintiff were for
“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

25. Defendant willfully and/or knowingly violated the TCPA with respect to

Plaintiff.

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26. From each and every call placed Without express consent by Defendant to
Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the
intrusion upon his right of seclusion.

27. From each and every call without express consent placed by Defendant to
Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of her cellular
telephone line and cellular phone by unwelcome calls, making the phone unavailable for
legitimate callers or outgoing calls while the phone was ringing from Defendant’s call.

28. From each and every call placed without express consent by Defendant to
Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of
his time. For calls he answered, the time she spent on the call was unnecessary as he
repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste
time to unlock the phone and deal with missed call notifications and call logs that reflect
the unwanted calls. This also impaired the usefulness of these features of Plaintiff’s
cellular phone, which are designed to inform the user of important j missed
communications

29. Each and every call placed without express consent by Defendant to
Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to the
Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of
answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the
phone and deal with missed call notifications and call logs that reflected the unwanted
calls. This also impaired the usefulness of these features of Plaintiff’s cellular phone,

which are designed to inform the user of important missed communications

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30. Each and every call placed without express consent by Defendant to
Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of
Plaintiff’s cellular telephone’s battery power.

31. Each and every call placed without express consent by Defendant to
Plaintiff’s cellular telephone where a voice message was left which occupied space in
Plaintiff’s phone or network.

32. Each and every call placed without express consent by Defendant to
Plaintist cellular telephone resulted in the injury of a trespass to Plaintiff’ s chattel,
namely her cellular phone and her cellular phone services.

33. As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affect in a personal and individualized way by stress, anger,
frustration, worry, distress and loss of self-confidence.

w
(Violation of the TCPA)

34. Plaintiff fully incorporates and re-alleges paragraphs l through 33 as if
fully set forth herein.
. 35 . FINANCIAL PACIFIC LEASING, INC. willfully violated the TCPA with
respect to Plaintiff, specifically for each of the auto-dialer calls made to Plaintiff’s
cellular telephone after Plaintiff notified FINANCIAL PACIFIC LEASING, INC. that

Plaintiff wished for the calls to stop.

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36. FINANCIAL PACIFIC LEASING, INC. repeatedly placed non-

‘ emergency telephone calls to Plaintiff’s cellular telephone using an automatic telephone

dialing system or prerecorded or artificial voice without Plaintiff’s prior express consent
in violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against FINANCIAL PACIFIC LEASING, lNC. for statutory
damages, punitive damages, actual damages, treble damages, enjoinder from further
violations of these parts and any other such relief the court may deem just and proper.

Respectfully submitted,

/s/Frank H. Kerne III Es uire
Frank H. Kerney, III, Esquire
Florida Bar #: 88672

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